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13                         UNITED STATES DISTRICT COURT
14                        CENTRAL DISTRICT OF CALIFORNIA

15    DIVX, LLC, a Delaware limited liability     Case No. 2:19-cv-1606 PSG
16    company,                                    (DFMx) [Lead case]
                                                  Case No. 2:21-cv-01615 PSG
17          Plaintiff and Counterclaim-           (DFMx)
18          Defendant,
                                                  PLAINTIFF DIVX, LLC’S
19          v.                                    MEMORANDUM OF POINTS
20                                                AND AUTHORITIES IN
      HULU, LLC, a Delaware limited liability     SUPPORT OF MOTION TO LIFT
21    company,                                    STAY AND REOPEN CASES
22
            Defendant and Counterclaimant.        Date:    February 25, 2022
23                                                Time:    1:30 pm
24                                                Ctrm:    6A
                                                  Judge:   Hon. Philip S. Gutierrez
25
26

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 1    I.    INTRODUCTION
 2          Pursuant to the Court’s Order inviting motions to reopen these cases after
 3    resolution of the Hulu I IPRs, DivX respectfully asks the Court to exercise its
 4    discretion to lift the stay in Hulu I and Hulu II. The older of these two consolidated
 5    cases, Hulu I, was filed over two and a half years ago, and has been stayed for more
 6    than a year and a half of that pending Hulu’s lengthy, costly, and futile IPRs that have
 7    now ended with only one asserted claim invalidated and not a single asserted patent
 8    eliminated from this case. The stay should be lifted and the consolidated cases should
 9    be allowed to proceed. Indeed, the dismal record of Hulu’s attempt to narrow the
10    scope of Hulu I with IPRs shows that Hulu II should not be stayed either—especially
11    when Hulu has as much as admitted that its later IPRs should be expected to meet the
12    same fate as its earlier ones.
13          IPR petitions have been filed on only two of five Hulu II patents. For one
14    patent, Hulu expressly stipulated that there would be no overlap as any validity
15    challenge in this Court would be different from any possible challenge in the IPR. The
16    IPR on the other patent does not challenge three of four asserted claims. These IPRs
17    and Hulu’s failed promise to file additional IPRs on Hulu II patents are no excuse for
18    keeping the consolidated cases stayed and present no sound reason for keeping the
19    Hulu I patents—which have completed the IPR process—stayed. If the Hulu I patents
20    were stayed awaiting the resolution of IPRs that Hulu has yet to file, those patents
21    could be stayed for a total of three to four years, even though they are ready to proceed
22    now. Hulu’s stay runs directly counter to Rule 1’s purpose of just, speedy, and
23    inexpensive resolution of all actions, and it allows demonstrably weak seriatim
24    petitions to arrest the orderly and timely progress of infringement suits in Article III
25    courts.
26          Hulu’s appeal of the results of the Hulu I IPRs is similarly no basis to keep this
27    case stayed. Courts have repeatedly recognized that waiting to see if a result changes
28    on appeal is highly speculative, and it is extremely unlikely here given that over 70%
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 1    of IPR appeals result in a full affirmance. The odds against Hulu are even higher here
 2    because the asserted claims of six Hulu I patents survived IPRs essentially unscathed.
 3    These cases should now proceed in full, but whatever the Court decides about the Hulu
 4    II patents, Hulu I needs to proceed.
 5          In considering whether the IPRs in Hulu II would simplify this consolidated case
 6    in October of last year, the Court rightly already found this factor was “neutral.” Hulu
 7    II, Dkt. 83 at 9-10. Now, eleven out of twelve patents in these cases (91%, including
 8    all seven Hulu I patents and four of five Hulu II patents) have either successfully
 9    completed IPRs or have asserted claims that were not or are not subject to an IPR
10    petition. If Hulu subsequently files additional IPR petitions—late in its one-year
11    period and after failing to file “additional petitions before the end of 2021” that it
12    represented to this Court that it would do (Hulu II, Dkt. 66-1 at 21)—Hulu should not
13    be permitted to take advantage of the present stay by delaying its IPR petitions to
14    further prolong the already lengthy stay. Permitting this would prejudice DivX and
15    subject it to a clear tactical disadvantage. In sum, Hulu should not be permitted to use
16    the consolidation of Hulu I with Hulu II or Hulu’s unrealized promise to file more
17    IPRs in Hulu II as an excuse to further delay Hulu I when Hulu’s IPRs against the
18    Hulu I patents have comprehensively failed to provide an alternative to this Court
19    addressing the merits of that case.
20          Further, Hulu argued in seeking to consolidate Hulu I and Hulu II that the same
21    features were accused in both cases, and there would be similar discovery in both.
22    Hulu II, Dkt. 66-1 at 1, 5-7, 16. Hulu cannot now deny that it will be efficient for all
23    patents to proceed together now that the disputes on the Hulu I patents must be
24    resolved in this Court in any event. Even if some Hulu II patents are eliminated in
25    IPR, the lost efficiency would be small. Conversely, the further delay of seven post-
26    IPR patents that are ready to proceed through discovery and trial would be substantial.
27    Nothing that can happen in IPRs on the Hulu II patents will change the fact that this
28    overall dispute is unlikely to be resolved until the Hulu I case progresses in this Court.
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 1    Both cases should be allowed to proceed, but at bare minimum Hulu I should proceed.
 2          DivX was a streaming video pioneer long before Hulu even existed. Hulu built
 3    a multi-billion-dollar internet video business using technology DivX created and
 4    patented.   The PTAB’s decisions support the importance and primacy of DivX’s
 5    technology. Hulu’s infringement without license or recognition causes continuing
 6    harm to DivX’s reputation and business opportunities in a market that DivX helped
 7    create. The stay has achieved its purpose, and the PTAB’s affirmance of DivX’s
 8    patents corroborates DivX’s foundational place in the field. DivX should now be
 9    allowed to pursue its claims on the merits before this Court.
10    II.   BACKGROUND
11          A.     History Of District Court Proceedings
12          DivX filed Hulu I (Case No. 2:19-cv-1606 PSG (DFM)) on March 5, 2019,
13    more than two and a half years ago. Hulu I, Dkt. 1. The Court set a trial date of April
14    27, 2021. Hulu I, Dkt. 82. On March 13, 2020, more than a year after the case was
15    filed, Hulu moved for a stay. Hulu I, Dkt. 100. The Court granted that motion on May
16    11, 2020. Hulu I, Dkt. 122. The same Order permitted any party to apply to reopen
17    the case “after the conclusion of all IPR proceedings” on the Hulu I patents. Id. at 8.
18          There is also a co-pending Netflix case (Case No. CV 2:19-cv-1602 PSG
19    (DFMx)) with the same seven Hulu I patents plus one additional patent (No.
20    9,184,920). Hulu I, Dkt. 122 at 1-3. The Court aligned the Netflix and Hulu I claim
21    construction and other deadlines, and stayed Netflix along with Hulu I. Netflix, Dkts.
22    80 at 8; 83, 89; Hulu I, Dkts. 82, 79, 87, 122 at 8. In a concurrently filed motion, DivX
23    also seeks to lift the stay in Netflix as all the IPRs on Netflix patents are finished.
24          DivX filed Hulu II (Case No. 2:21-cv-01615 PSG (DFM)) on February 22,
25    2021. Hulu II, Dkt. 1. On August 2, 2021, the Court set trial for December 5, 2022.
26    Hulu II, Dkt. 64. On August 13, 2021, Hulu moved to consolidate the Hulu cases and
27    to stay Hulu II. Hulu II, Dkt. 66-1. Nearly six months after filing, Hulu had brought
28    no IPR petitions on Hulu II patents.          Yet Hulu claimed it “intends to file IPR
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 1    petitions[.]” Hulu II, Dkt. 66-1 at 19. On October 6, 2021, the Court granted Hulu’s
 2    motion. Hulu II, Dkt. 83. The Order allowed either party to move to reopen the case
 3    once “the PTAB has concluded IPR proceedings for all the patents at issue in Hulu I.”
 4    Id. at 9. On December 15, 2021, the Final Written Decision (“FWD”) issued in the last
 5    Hulu I IPR, so DivX now moves to lift the stay. Netflix, Inc. v. DivX LLC, IPR2020-
 6    00614, Paper 68 (PTAB Dec. 15, 2021).
 7            B.     IPR Proceedings
 8            Six of seven Hulu I patents were challenged in IPRs, but those IPRs failed to
 9    eliminate any patent from this case. FWDs have issued in all the Hulu I IPRs. See Ex.
10    1 (table summarizing the status of all Hulu I and Hulu II IPRs, the length of delay in
11    filing the petitions, the number of asserted claims challenged, and the number of
12    claims the PTAB confirmed). There are claims asserted in this Court from each
13    challenged patent either that the PTAB confirmed were patentable or that were not
14    challenged in an IPR proceeding—and for four of those six challenged patents no
15    claims were found unpatentable in IPR. Ex. 1. Hulu sought to stay Hulu II arguing
16    that “[g]ranting a stay pending resolution of those IPRs could drastically simplify the
17    issues in this case” and “likely the majority—of the patents may not need to move
18    forward in litigation at all.” Hulu II, Dkt. 66-1 at 19-20.1 To the contrary, no patents
19    have been removed, and there has not been any significant simplification of this case.
20            The Hulu I Complaint was served on March 11, 2019, starting the one-year
21    period for filing IPR petitions. Hulu I, Dkt. 23; 35 U.S.C. § 315(b). Hulu waited to
22    file until the end of that period. Five out of six IPRs were filed in the last month of the
23    period, including on the very last day, March 11, 2020. Hulu I, Dkt. 122 at 2-3.
24            Hulu has now also delayed filing IPRs on the Hulu II patents. The Hulu II
25    Complaint was served on February 24, 2021. Hulu II, Dkt. 27. Although Hulu stated
26    on August 13, 2021, nearly five months ago, that it “intends to file IPR petitions with
27
      1
          Emphasis added and internal quotation marks and citation omitted unless noted.
28

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 1    respect to patents asserted in Hulu II” (Hulu II, Dkt. 66-1 at 19), to date, IPRs have
 2    been filed on only two Hulu II patents. Hulu II, Dkt. 83, at 3-4; Ex. 1. Those petitions
 3    were filed on September 3, 2021, over six months after service of the Hulu II
 4    Complaint. Hulu II, Dkt. 83 at 2-4. For one of those Hulu II patents (Patent No.
 5    10,326,987, “987 Patent”), the petitioner Unified Patents challenged only one of four
 6    asserted claims. Id. While Hulu stated in seeking to stay Hulu II that it expected to
 7    file not only its “first petition” before its motion to stay was heard, but also promised
 8    “additional petitions before the end of 2021” (Hulu II, Dkt. 66-1 at 21), Hulu has filed
 9    no additional IPRs after it achieved the stay. Ex. 1.
10    III.   LEGAL STANDARD
11           Stays pending IPR are within the Court’s discretion. In determining whether to
12    stay a case pending IPR, or whether to lift such a stay, courts consider three factors:
13                 (1) whether discovery is complete and whether a trial date
14                 has been set; (2) whether a stay will simplify the issues in
15                 question and trial of the case; and (3) whether a stay would
16                 unduly prejudice or present a clear tactical disadvantage to
17                 the nonmoving party.
18    Ex. 2, Game and Tech. Co. Ltd v. Blizzard Entm’t, Inc., No. CV 16-06499-BRO (SK),
19    slip op. at 3 (C.D. Cal. May 15, 2017) (O’Connell, J.); Hulu II, Dkt. 83 at 7. In
20    weighing the third factor—prejudice—courts consider four sub-factors: “(1) the timing
21    of the petition for review; (2) the timing of the request for the stay; (3) the status of
22    review proceedings; and (4) the relationship of the parties.” Jiaxing Super Lighting
23    Elec. Appliance Co. v. Maxlite, Inc., No. CV 19-4047 PSG (MAAx), 2020 WL
24    5079051, at *4 (C.D. Cal. June 17, 2020) (Gutierrez, J.). “[U]ltimately ‘the totality of
25    the circumstances governs.’” Ex. 2, Game and Tech., slip op. at 3 (quoting Universal
26    Elecs., Inc. v. Universal Remote Control, Inc., 943 F. Supp. 2d 1028, 1031 (C.D. Cal.
27    2013)). Importantly, “[t]he proponent of a stay bears the burden of establishing its
28    need.” Id.
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 1          Rule 1 provides that the Federal Rules are to be administered to “secure the just,
 2    speedy, and inexpensive determination of every action and proceeding.”                These
 3    considerations from Rule 1 weigh in favor of lifting a stay. See Milwaukee Elec. Tool
 4    Corp. v. Hilti, Inc, No. 14-CV-1288-JPS, 2016 WL 7495808, at *3 (E.D. Wis. Dec. 30,
 5    2016) (“In light of its obligation to ensure the expeditious resolution of this case, see
 6    Fed. R. Civ. P. 1, the Court finds that the stay in the Related Cases has outlived its
 7    usefulness.”); Ex. 3, Lund Motion Prods., Inc. v. T-Max Hangzhou Tech. Co., No.
 8    SACV 17-01914-CJC-JPR, slip op. at 6 (C.D. Cal. May 13, 2020) (Carney, J.) (finding
 9    the third factor weighs against a stay, including because “the Court has an obligation to
10    manage its docket to ensure that cases are resolved in a timely manner”).
11    IV.   ARGUMENT
12          With the IPRs on Hulu I patents resolved overwhelmingly in DivX’s favor, all
13    stay factors, and the totality of the circumstances, favor lifting the stay in both cases.
14          A.     Factor 1: The Stage Of Proceedings Supports Lifting The Stay
15          With good reason, courts typically do not give significant weight to this factor
16    when considering whether to extend an already lengthy stay. As one court observed,
17    although this factor was “unchanged” given that the “proceedings in this court have
18    been frozen since the stay was imposed,” the “focus of the inquiry” is not on this
19    factor, but the other two factors. Ioengine, LLC v. Paypal Holdings, Inc., Civil Action
20    No. 18-452-WCB, 2020 WL 6270776, at *2 (D. Del. Oct. 26, 2020) (Bryson, J., sitting
21    by designation). A court in this district found the factor “neutral” when the case was
22    “nearing the two-year mark” and a “significant portion of that time was subject to the
23    current stay,” despite no depositions, expert discovery, or trial date. Ex. 2, Game and
24    Tech., slip op. at 4. This makes sense. If a lack of progress could justify continuing
25    the very stay that caused it, then stays would become indefinite, and their justifications
26    circular. Here, similar to Game and Technology, over two and a half years have
27    passed since Hulu I was filed, and the case has been stayed for over one and a half
28    years. Hulu I, Dkt. 1; Hulu I, Dkt. 122. This factor supports lifting the stay—
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 1    particularly on the Hulu I patents.
 2          A further stay of the case based on Hulu II patents would only exacerbate the
 3    disparity between the lengthy pendency of the present proceeding and the stage of
 4    these proceedings. Even if Hulu filed more IPR petitions now, there would likely be
 5    no institution decision until July 2022, and no FWDs until July 2023. 37 C.F.R.
 6    § 42.107(b); 35 U.S.C. § 314(b); 35 U.S.C. § 316(a)(11). If the case were not allowed
 7    to proceed, this would mean another year and a half stay, with a total stay of over three
 8    years in Hulu I. Hulu I would have been pending four years and three months with
 9    nothing to show for it even though those Hulu I patents are ready today to proceed
10    through trial. Hulu I, Dkts. 1. This Court previously found that this factor weighed in
11    favor of a stay when considering whether to initially stay Hulu II (Hulu II, Dkt. 83 at
12    8), citing TeleSign Corp. v. Twilio, Inc., CV 16-2106 PSG (SSx), 2017 WL 11517650
13    (C.D. Cal. May 16, 2017). However, the additional delay in TeleSign beyond the
14    resolution of the IPRs on patents in the first-filed case was nine months, whereas in
15    this case the possible additional stay could be twice that (at least a year and a half).
16    Similarly, while the total stay in TeleSign was expected to be two years, in the present
17    case it would be expected to be over three years if additional IPRs are instituted at this
18    late stage. TeleSign, 2017 WL 11517650, at *1 (first-filed case stayed in March 2016,
19    IPRs were expected to resolve on patents in the first-filed case by June 2017, and the
20    IPR on the patent in the second-filed case was expected to resolve by March 2018).
21    The circumstances of this case do not favor continuing the already lengthy stay under
22    this factor, and TeleSign is not to the contrary.2 Continuing the stay is not a fair or
23
      2
24      The Court already noted that the delay in the present case would be longer than in
      TeleSign in the third sub-factor of factor three in finding that subfactor weighed against
25    a stay, and it similarly weighs against a stay for the first factor. Hulu II, Dkt. 83 at 8.
26    TeleSign was also unlike the present case because no trial date had been set when the
      case was stayed. TeleSign, 2017 WL 11517650, at *3-4. Additionally, while the Court
27    found that Hulu had not yet “waited until the last minute to file its IPR proceedings,”
28    citing TeleSign, at *5, now three months later, Hulu has waited too long and past the

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 1    efficient result, and would be contrary to Federal Rule 1.
 2          Further, the status of this case favors lifting the stay. The Court has already
 3    addressed three substantive motions to dismiss. Hulu I, Dkts. 58, 73; Hulu II, Dkt. 55.
 4    Another court in this district found that it “slightly favor[ed]” lifting a stay where, like
 5    here, the parties had engaged in “some motions practice before this Court” and
 6    “complex proceedings before the PTAB.” Ex. 3, Lund, slip op. at 4. “Given the time
 7    that has passed and the resources the parties have expended, it would be a mistake to
 8    characterize this case as one that is still in its early stages.” Id. Moreover, before the
 9    stay in Hulu I, the parties served and responded to discovery, served detailed
10    contentions, and were about to start claim construction. See Hulu I, Dkts. 87, 115-1.
11    DivX narrowed its asserted claims and produced 72,783 pages. Hulu I, Dkt. 115-1. In
12    Hulu II, DivX served detailed infringement contentions. Hulu II, Dkt. 64.
13          Another consideration is whether a trial date has been set. Ex. 2, Game and
14    Tech., slip op. at 3. Although there is currently no trial date, the Court had previously
15    set one in both cases, and less than a year remained until the Hulu I trial when this case
16    was stayed. Hulu I, Dkts. 82, 122. The prospect of an expeditious trial date should
17    favor lifting the stay. This Court is the most efficient forum to resolve the disputes
18    between the parties, and it can resolve all merits issues on all patents at trial before the
19    PTAB can address even a subset of those same issues (part of the validity analysis) on
20    a subset of those patents. The prior schedule shows this: trial was set for April 27,
21
      time it represented to this Court it would file additional IPRs, which further
22    distinguishes the present case from TeleSign, as further described in Section IV(C)(1).
23    Hulu II, Dkt. 83 at 10. This case is also unlike TeleSign in that the stay has minimal
      potential for simplification, as described in Section IV(B). In Telesign, for example,
24    the only asserted patent in the second case was related to two of the three patents in the
25    first case (whereas here, out of 12 patents, IPR petitions are pending on a single Hulu
      II patent from the same family as another Hulu I patent, which was confirmed in an
26    IPR), and the third patent from the first case was still undergoing IPR (whereas in this
27    case all Hulu I IPRs are concluded). TeleSign, 2017 WL 11517650, at *1, *4.
      TeleSign does not support a continued stay in the present case.
28

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 1    2021, about five months before the last FWD was expected. Hulu I, Dkts. 82, 122 at
 2    2-3; 35 U.S.C. § 316(a)(11). Such a schedule weights against a stay. Copy Prot. LLC
 3    v. Netflix, Inc., C.A. No. 14-365-LPS, 2015 WL 3799363, at *1 (D. Del. June 17,
 4    2015) (Stark, J.) (factor weighed against stay when the “trial date has been set for . . .
 5    around the same time as the IPR petition may be finally decided”).
 6          B.     Factor 2: A Stay Will Not Meaningfully Simplify These Cases
 7                 1.    Hulu I Will Not Be Simplified By Continuing The Stay
 8          The factor addressing whether a stay is likely to simplify the court proceedings
 9    strongly favors lifting the stay. Now, FWDs have issued in all IPRs on Hulu I Patents,
10    and the results are overwhelmingly in DivX’s favor. See above Section II(B); Ex. 1.
11    With all Hulu I IPRs complete, no patents have been eliminated and the case has not
12    been simplified the way Hulu predicted when it told the Court that “several—likely the
13    majority—of the patents may not need to move forward in litigation at all.” Hulu II,
14    Dkt. 66-1 at 19-20. Hulu cannot now argue that simplification is likely given this
15    outcome. There is no reason patents that have now been through IPR (or were not
16    challenged in the first place) should not be allowed to proceed. Any alleged
17    simplification has already happened, and there is no reason to wait.
18          Of the seven patents asserted in the Hulu I case, one patent was never subjected
19    to IPR (No. 10,212,486) and the sole asserted claim of another patent was likewise
20    never attacked in IPR (Claim No. 29 of Patent No. 7,295,673, “673 Patent”).3 Hulu II,
21    Dkt. 83 at 2; Ex. 1. Four more of the patents asserted in Hulu I were challenged in
22    IPRs without a single claim being found unpatentable (Patent Nos. 8,139,651 (“651
23    Patent”); 10,225,588; 8,472,792 (“792 Patent”); 9,270,720). Hulu II, Dkt. 83 at 3; Ex.
24
      3
25      DivX has asserted only Claim 29 from the 673 Patent. Ex. 4 at 2. Only Claims 1–6,
      9, 10, and 13–19 of the 673 Patent were challenged in IPR. Netflix, Inc. v. DivX LLC,
26    IPR2020-00614, Paper 68 at 84 (PTAB Dec. 15, 2021). Although the challenged
27    claims of the 673 Patent were found unpatentable in the IPR (id.), that has not
      eliminated the only asserted 673 Patent claim in the present case before this Court.
28

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 1    1. For the seventh patent (No. 9,998,515), four out of five asserted claims were
 2    confirmed in IPR. Hulu II, Dkt. 83 at 3; Ex. 1. Thus, of the thirty claims across seven
 3    patents asserted from Hulu I, only a single claim was found unpatentable in IPR. Ex.
 4    1.   DivX will not be proceeding in the present case on that one claim.             Any
 5    simplification of this case from the IPRs is, therefore, now complete; there is no reason
 6    to delay resolution of the present case in this Court. As another court in this district
 7    recently explained, “[n]ow that PTAB has issued its final written determinations, the
 8    stay has served its purpose of simplifying the case and is no longer warranted or
 9    appropriate.” Ex. 5, Medtronic, Inc. v. Axonics Modulation Technologies, Inc., No. SA
10    CV 19-02115-DOC-JDE, slip op. at 2 (C.D. Cal. Oct. 21, 2021) (Carter, J.).
11          Courts in this and other districts have repeatedly concluded that once IPRs have
12    resolved, appeals—like those filed in the present case—are not a reason to continue a
13    stay. See Ex. 1. As Judge Bryson explained while sitting by designation in Delaware,
14    “the great weight of the case law, both in this district [Delaware] and elsewhere,”
15    rejects issuing a stay pending an appeal of an IPR decision. Ioengine, 2020 WL
16    6270776, at *5. “Whether any further simplification will result from an appeal to the
17    Federal Circuit from the PTAB’s final written decisions is speculative.” Id. at *7;
18    Masterobjects, Inc. v. Ebay, Inc., No. 16-cv-06824-JSW, 2018 WL 11353751, at *2-3
19    (N.D. Cal. Nov. 7, 2018) (noting the “speculative” nature of awaiting additional claim
20    construction on appeal); Milwaukee Elec. Tool, 2016 WL 7495808, at *2 (“[N]ow that
21    those patents have survived IPR, there remains only a speculative possibility that the
22    Federal Circuit will reverse the PTAB and invalidate them.”); Ex. 5, Medtronic, slip
23    op. at 2-3 (“[T]he pendency of an appeal and its speculative success is ‘not, in and of
24    itself, a sufficient basis to make the patentee continue to wait to enforce patent rights
25    that it currently holds.’” (quoting Juno Therapeutics, Inc. v. Kite Pharma, No. CV 17-
26    07639 SJO (RAOx), 2018 WL 1470594, at *7 (C.D. Cal. Mar. 8, 2018) (Otero, J.)));
27    Ex. 3, Lund, slip op. at 6 (“The Court declines to subject this case to certain delay
28    based on the speculative possibility that its scope might be somewhat altered by
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 1    Defendants’ appeal.”).
 2          The high affirmance rate of PTAB decisions by the Federal Circuit—well over
 3    70% affirmance on all issues—confirms this. Ioengine, 2020 WL 6270776, at *3
 4    (noting in 2020 that “the Federal Circuit has issued a full affirmance in more than 75%
 5    of appeals from the PTAB[.]”); Daniel F. Klodowski et al., Federal Circuit PTAB
 6    Appeal Statistics Through August 31, 2021, IX Nat’l Law Rev. 274 (2021),
 7    https://www.natlawreview.com/article/federal-circuit-ptab-appeal-statistics-through-
 8    august-31-2021 (attached as Ex. 6 at 1-2) (through August 31, 2021, the Federal
 9    Circuit affirmed the PTAB on every issue in 73.26% of IPR appeals, and partially
10    affirmed in another 10.07% of appeals). To materially alter the present case, the
11    Federal Circuit would have to reverse multiple IPRs, which is even less likely.
12           Further, stays pending appeal subject plaintiffs to an “open-ended period of
13    delay”: while “IPR proceedings are statutorily limited in duration,” appeals are not.
14    Ioengine, 2020 WL 6270776, at *6; Masterobjects, 2018 WL 11353751, at *3 (an IPR
15    has a “statutorily-imposed deadline,” but an appeal does not). As Judge Bryson noted
16    when sitting by designation, it is “hard to predict how long the appellate process will
17    take, although from the available statistics, it is safe to assume that it will take at least a
18    year.” Ioengine, 2020 WL 6270776, at *7. Indeed, in 2018-2021, the median time to
19    the Federal Circuit decision in a PTAB appeal, including roughly three months from
20    the final written decision to the docketing of the appeal, has been between 17 and 18
21    months, See the Federal Circuit’s own report “Median Disposition Time for Cases
22    Terminated      After     Hearing     or     Submission,”      https://cafc.uscourts.gov/wp-
23    content/uploads/reports-stats/disposition-
24    time/06_Med_Disp_Time_MERITS_table.pdf. Although any change in result from an
25    appeal is highly speculative, such a lengthy delay is certain to result from any stay.
26    This too weighs against a further stay.
27          Congress intended IPRs to be timely and cost-effective. Network-1 Sec. Sols.,
28    Inc. v. Alcatel-Lucent USA Inc., No. 6:11cv492, 2015 WL 11439060, at *5 n.8 (E.D.
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 1    Tex. Jan. 5, 2015). It is neither timely nor cost-effective to require companies that
 2    have waited for their district court claims to proceed through the conclusion of IPRs in
 3    their favor to be burdened with additional and excessive delays on the improbable
 4    chance that the Federal Circuit might reverse multiple IPR results. Indeed, Congress
 5    did not require a stay during the pendency of the appeals. Id.
 6          Finally, lifting the stay and allowing Hulu I to proceed in parallel with the co-
 7    pending Netflix case is the most efficient way to proceed. The co-pending Netflix case
 8    includes the same seven patents in Hulu I plus one additional patent and has been
 9    stayed. All IPRs on Netflix patents are concluded, and DivX is filing its request to
10    reopen the Netflix case at the same time as this motion, consistent with the Court’s
11    Order. Hulu I, Dkt. 122 at 8. There is no reason Netflix would not proceed, 4 and
12    while Netflix can proceed on its own schedule regardless of the results of the present
13    motion, Netflix and Hulu I were previously aligned for claim construction and other
14    deadlines for efficiency. Netflix, Dkts. 80 at 8; 83, 89; Hulu I, Dkts. 82, 79 at 8 (“The
15    parties propose that the Court coordinate discovery between this case and DivX, LLC v.
16    Netflix, Inc., Case No. 2:19-cv-1602 (PSG)(JC) such that the parties may coordinate
17    their discovery efforts across both cases.”), 87, 115-2 (July 27, 2020, Hearing
18    Transcript) (“So as I understand it, the parties have agreed to coordinate some of the
19    discovery in both cases. The witnesses will be the same. So that’s great.”). If Hulu is
20    not allowed to proceed, then unless DivX is subjected to the unfair prejudice of
21    continuing to stay a case with no pending IPRs at all, then that efficiency will be lost—
22    two problems that are both completely avoided by letting both cases proceed together
23    now. Allowing both Hulu cases (or at least Hulu I) to proceed with Netflix would
24
      4
25      As explained further in the briefing in the Netflix case, the pending appeals of IPRs
      are no basis to keep the Netflix case stayed for the same reasons they are not a basis to
26    stay the present case. There is also no basis to stay a case against one defendant
27    because different patents are asserted against a different defendant, only a fraction of
      which are even the subject of an IPR petition.
28

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 1    achieve the same simplification and efficiency as the Court’s prior decision.
 2          This factor strongly favors lifting the stay on Hulu I patents.
 3                 2.     Any IPRs On Hulu II Patents Will Not Simplify This Case
 4          Because Hulu I and Hulu II are consolidated through discovery and claim
 5    construction (Hulu II, Dkt. 83 at 6), Hulu may argue that IPRs against Hulu II patents
 6    may simplify the issues in the consolidated case as a whole. They will not. As of the
 7    filing of this motion, IPR petitions have been filed on only two of the five patents in
 8    Hulu II, and one of those does not challenge the validity of all asserted claims. Hulu
 9    II, Dkt. 83 at 3-4; Ex. 1. These petitions will not materially simplify the consolidated
10    case for seven reasons. First, Hulu itself argued that the Hulu I IPRs were a signal of
11    the likely results of IPRs on Hulu II patents. Hulu claimed that for the Hulu II IPRs
12    “[i]nstitution is likely, however; all of Hulu’s petitions regarding the patents asserted in
13    Hulu I were instituted.” Hulu II, Dkt. 66-1 at 20. By Hulu’s same logic, Hulu II IPRs
14    should not have different results than the largely unsuccessful Hulu I IPRs.5 See Ex. 1.
15          Second, as the Court rightly found in its October Order, the simplification factor
16    based on Hulu II petitions was “neutral”: “the likelihood that any IPR proceedings
17    instituted for Hulu II patents will simplify issues in Hulu I is lower than the likelihood
18    that IPR petitions for patents asserted in Hulu I would simplify issues in that case.”
19    Hulu II, Dkt. 83 at 9-10. The Court noted that while two of five Hulu II patents (the
20    Patent No. 10,257,443 (“443 Patent”) and No. 10,542,061 (“061 Patent”)) were related
21    to Hulu I patents, the remaining Hulu II patents were “unrelated.” Id. at 9-10. IPR
22    petitions have been filed on the 443 Patent (see Hulu II, Dkt. 83 at 2-3), but not on the
23    061 Patent (see Ex. 1).6 This further supports allowing the 061 Patent to proceed with
24
      5
25      Unified Patents, LLC, filed the IPR petition on the Hulu II 987 Patent. See Ex. 1.
      Unified Patents also filed the failed IPR on the 651 Patent, and there is no basis to
26    expect that the 987 Patent IPR will fare any better. Id.
27    6
       To hold the Hulu I patents back, because the 792 Patent is related to the 443 Patent
28    on which IPR petitions are pending, would be improper. The 792 Patent (Hulu I) and

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 1    the related Hulu I patents that already survived IPR. The 443 Patent should also
 2    proceed because the related 792 Patent successfully completed the IPR process. Even
 3    if Hulu files more petitions, the failed IPRs on the Hulu I patents favor allowing the
 4    related Hulu II patents to proceed. While this factor was neutral in October, it now
 5    favors lifting the stay on the Hulu II patents.
 6          Third, notwithstanding any alleged overlap, the Hulu II IPRs cannot
 7    meaningfully simplify this case because the Hulu I patents need to be litigated
 8    regardless. Even if Hulu II patents were eliminated in IPR, all but one of the Hulu I
 9    patents are immune from validity challenges in this Court on prior art that could have
10    been raised in IPR proceedings. 35 U.S.C. § 315(e)(2) (IPR petitioner or real parties in
11    interest cannot assert that a claim is “invalid on any ground that the petitioner raised or
12    reasonably could have raised” during the IPR). Hulu cannot use prior art from Hulu
13    II IPRs against Hulu I patents that survived IPR. Such IPRs will not simplify the case.
14          Fourth, in asking to consolidate the Hulu cases, Hulu claimed that much of the
15    discovery would overlap. Hulu cannot argue now that there is any harm in providing
16    the same discovery it needs to provide anyway for the Hulu I patents. Hulu argued that
17    the cases involve the same accused features, related patents, similar claim terms, the
18    same standards, similar benefits, overlapping inventors and witnesses, the same
19    possible third parties, similar financial data, and common damages factors. Hulu II,
20    Dkt. 66-1 at 1, 5-7, 16. Hulu also argued that addressing related patents together is
21    efficient for claim construction. Id. at 16. As another court in this district has noted,
22    “requiring separate discovery and litigation on the related patents would be an
23    inefficient use of resources.” Ex. 2, Game and Tech., slip op. 5. The overlap that Hulu
24
25    the 443 Patent (Hulu II) are technically related in that they share an earlier application
      in the patent chain, but they claim very different aspects of streaming technology. One
26    claims a special kind of index that helps the device find the necessary video frames for
27    trick play, and the other involves a process for decrypting the streaming video. Hulu I,
      Dkt. 1, Ex. 3 at Abstract; Hulu II, Dkt. 1, Ex. 1 (443 Patent) at Abstract.
28

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 1    argued supported consolidation supports allowing all patents to proceed through a
 2    single, simple, coordinated discovery process. Even if Hulu II patents are eliminated
 3    in IPR, if any efficiency is lost, it will be minimal given the overlap that Hulu argued
 4    for and outweighed by the simplification of the discovery process if all patents proceed
 5    together. Any such overlap favors lifting the stay in both cases.
 6          Fifth, any potential for simplification is significantly diminished by the PTAB’s
 7    practice of either declining to institute an IPR and deferring to a court that is better
 8    positioned to resolve the same issues faster or alternatively permitting IPR petitioners
 9    to stipulate not to litigate the same issues in both proceedings. Sotera Wireless, Inc. v.
10    Masimo Corp., IPR2020-01019, Paper 12 at 18-19 (PTAB Dec. 1, 2020)
11    (precedential). In IPR petitions on the Hulu II 443 Patent, Hulu already “stipulate[d]
12    that, if this IPR is instituted, it will not advance the grounds that are raised or
13    reasonably could have been raised in this IPR in the co-pending district court
14    proceeding, eliminating any overlap between the IPR and the co-pending district
15    court proceeding.” Hulu, LLC v. DivX, LLC, IPR2021-01418, Paper 4 at 5; IPR2021-
16    01419, Paper 4 at 5 (Petitions, PTAB Sep. 3, 2021). This stipulation eliminates any
17    risk of litigating the same issue in two tribunals, achieving much of the alleged
18    efficiency of a stay without the prejudice. Because the stipulation takes effect if and
19    when the IPR is instituted—instead of at the FWD when the statutory estoppel would
20    take hold anyway (35 U.S.C. § 315(e)(2))—the stipulation allows both the IPR and
21    district court case to proceed efficiently in parallel without substantive overlap.
22          Sixth, as of the filing of this motion, IPR petitions have been filed on only two
23    of the Hulu II patents, and one of those petitions (for the 987 Patent) challenges only
24    one of four asserted claims. Hulu II, Dkt. 83 at 3-4; see Ex. 1. Hulu has IPR petitions
25    that challenge all asserted claims of a single Hulu II patent (the 443 Patent). See Ex. 1.
26    No IPR petition has been filed on the remaining three Hulu II Patents (No. 9,794,318;
27    10,412,141; 10,542,061). Id. Of the twelve patents-in-suit in Hulu I and Hulu II,
28    eleven of those patents (91%) currently either have IPR proceedings that have resolved
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 1    successfully for DivX or have asserted claims that were not or are not subject to IPR
 2    petition. See Ex. 1; above Section IV(B)(1). Even if Hulu were to file more IPR
 3    petitions and the Court were to consider such delayed petitions in Hulu’s favor (which
 4    it should not), that would still subject fewer than half of the patents-in-suit to a pending
 5    IPR petition, leaving claims of the seven Hulu I patents (58%) clear of IPR. This is a
 6    compelling reason to lift the stay. This Court has previously denied a stay when four
 7    of six patents (67%) would never be subject to an IPR, and correctly concluded that the
 8    Court “will have to resolve all claims in dispute as to those patents” and “waiting for
 9    the outcome of reexamination does nothing for that portion of the litigation.”7 Jiaxing,
10    2020 WL 5079051, at *7.          “[T]o truly simplify the issues the outcome of the
11    reexamination must finally resolve all issues in the litigation.” Id.; see also Tire
12    Hanger Corp. v. My Car Guy Concierge Servs., Case No. 5:14-cv-00549-
13    ODW(MANx), 2015 U.S. Dist. LEXIS 193390, at *3 (C.D. Cal. June 16, 2015)
14    (Wright, J.) (“The ’897 petition only addresses three out of the eleven asserted claims
15    in the case, therefore there is no reason to allow the remaining claims to ‘languish’
16    unresolved during the IPR process.”). The Hulu II IPRs cannot resolve all or even
17    most of the issues, and this weighs against continuing the stay.
18          Seventh, none of the Hulu II IPRs have been instituted, and institution decisions
19    are not expected until March 2022—months from now. See Ex. 1. We now know that
20    the Hulu I IPRs failed to eliminate a single Hulu I patent. A further pre-institution stay
21    on the Hulu II patents is particularly unwarranted in light of this because the PTAB has
22    not even indicated that the Hulu II petitions are likely to succeed. Notwithstanding this
23    Court’s earlier decision, and decisions of other courts in this district, other courts have
24
      7
25      While the Court also noted in Jiaxing that the Plaintiff agreed not to assert claims
      subject to an instituted IPR, this was an additional factor in an opinion already leaning
26    against stay and it is not necessary in the present case for the reasons noted throughout.
27    2020 WL 5079051, at *7. Nevertheless, if the Court adopts such a requirement, that at
      most favors staying only Hulu II patents, not Hulu I patents.
28

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 1    concluded that pre-institution stays are “inherently speculative” and “not warranted.”
 2    Polaris Innovations, Ltd. v. Kingston Tech. Co., No. SACV 16-00300-CJC(RAOx),
 3    2016 WL 7496740, at *2 (C.D. Cal. Nov. 17, 2016) (Carney, J.) (noting the
 4    speculative nature of both whether an IPR would be instituted and, at that time, the
 5    scope of institution); see also Copy Prot., 2015 WL 3799363, at *1 (“Generally, the
 6    ‘simplification’ issue does not cut in favor of granting a stay prior to the time the
 7    PTAB decides whether to grant the petition for inter partes review.”); Uniloc United
 8    States v. Acronis, No. 6:15-CV-01001-RWS-KNM, 2017 WL 2899690, at *3 (E.D.
 9    Tex. Feb. 9, 2017) (“The majority of courts in this district that have addressed the issue
10    of a pre-institution stay have either denied the stay request or postponed ruling until
11    the PTAB acts on the petition for review.”). The pre-institution status of the Hulu II
12    IPRs also weighs against a stay at this point.
13          C.     Factor 3: A Stay Would Prejudice And Tactically Disadvantage DivX
14                 1.    Sub-Factor 1: Hulu’s Delay In Filing IPR Petitions
15          Hulu has delayed its IPR filings, and it would unduly prejudice DivX and
16    subject DivX to clear tactical disadvantage if the cases were further delayed—
17    especially if the Hulu I case remains stayed.
18          DivX acknowledges and does not seek to revisit the Court’s original decision to
19    grant the stay. However, the further stay that Hulu now seeks must be considered
20    against the backdrop of the timing of Hulu’s previous IPR petitions, which establish a
21    pattern of delay. The first IPR on a Hulu I patent was not filed until seven months
22    after service of the Complaint, and the remaining petitions were filed eleven months to
23    a full year after service. See Ex. 1; Hulu I, Dkt. 122. Hulu I has been pending for two
24    and a half years, and Hulu now attempts to extend an already year and a half long stay
25    by over another year. Hulu I, Dkt. 1; Hulu I, Dkt. 122. If Hulu II IPRs are instituted
26    and appealed, and those appeal times are also included in the stay, that would likely
27    add at least an additional year, for a combined stay of four years. Hulu should not be
28    permitted to stack delay upon delay by now continuing this stay.
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 1            Keeping the case stayed based on any actual or promised IPR petitions on Hulu
 2    II patents would create an unfair tactical advantage for Hulu. In seeking to stay Hulu
 3    II, Hulu stated that it “intends to file IPR petitions with respect to patents asserted in
 4    Hulu II.” Hulu II, Dkt. 66-1 at 19. Hulu said that by the time of its motion, it “will
 5    have filed its first petition, and will be preparing multiple other petitions for filing
 6    thereafter” and expected to file additional petitions “before the end of 2021.” Id. at 19,
 7    21. But Hulu has delayed and did not file those additional petitions before the end of
 8    2021 as it represented to the Court. See Ex. 1. Even the first Hulu II petitions were
 9    filed over six months after the service of the Complaint in Hulu II. Hulu II, Dkt. 27;
10    Hulu II, Dkt. 83 at 4. This Court has previously considered six months to be a “delay”
11    that contributed to this factor weighing against a stay. Jiaxing, 2020 WL 5079051, at
12    *4 (“Defendant delayed in both bringing the IPRs and in bringing the request for a
13    stay.    Although Plaintiffs served Defendant with the complaint in May 2019,
14    Defendant did not bring its IPRs until November 2019.”). It is now over ten months
15    after service of the Hulu II Complaint and over four months after Hulu told this Court
16    it intended to file IPRs. Hulu’s significant delay weighs against a stay.
17            Hulu’s delay is particularly prejudicial because Hulu delayed its IPR petitions
18    during the present stay. If Hulu had promptly filed, that would have reduced the
19    overall stay duration. Instead, by opposing this motion, Hulu attempts to improperly
20    maximize the total stay—first filing the bare minimum number of IPR petitions so that
21    it could say it had done so while then waiting as long as possible to file any further
22    petitions and extending as long as possible the date by which all IPRs would resolve.
23    The total stay will be longer because the stay periods will run serially, rather than
24    concurrently. That prejudices DivX and subjects it to a clear tactical disadvantage.
25                  2.    Sub-Factor 2: The Timing Of The Request For A Stay
26            Although the timing of Hulu’s initial request for a stay was relevant to whether
27    to stay the case in the first place, it provides no reason to continue the stay now that all
28    substantive reasons for doing so are gone. This sub-factor is no longer relevant to
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 1    Hulu I and cannot weigh in favor of a stay as the stay based on Hulu I patent IPRs
 2    should now be concluded. The timing of the request for the Hulu II stay is also now of
 3    minimal relevance because Hulu delayed filing petitions that were a basis for the
 4    request after filing its request. In any case, this cannot outweigh the other sub-factors.
 5    DivX is promptly moving to lift the stay upon the conclusion of the last IPR, and
 6    DivX’s diligence favors lifting the stay.
 7                   3.    Sub-Factor 3: The Status Of IPRs Favors Lifting The Stay
 8             The Court in this case already found this sub-factor weighed slightly against a
 9    stay (Hulu II, Dkt. 83), and now both the completion of the Hulu I IPRs and the early
10    stage of the Hulu II IPRs weigh in favor of lifting the stay. The only effect of
11    continuing the stay on the Hulu I patents, which are through IPR, would be to give
12    Hulu further tactical advantage. No IPRs on Hulu II patents have been instituted, nor
13    will they be (if at all) until after this Court is likely to resolve this motion. Even if
14    instituted, they will not be decided for well over a year after this motion is likely to be
15    resolved. As this Court noted in a more advanced case than this one, when the last of
16    multiple institution decisions was a month away, “[b]ecause Defendant initiated IPR
17    proceedings relatively recently, granting a stay pending those proceedings would
18    create a lengthy delay.” Jiaxing, 2020 WL 5079051, at *1, *4.
19                   4.    Sub-Factor 4: The Relationship Between The Parties
20             The fourth and final prejudice sub-factor is the “relationship of the parties.”
21    Jiaxing, 2020 WL 5079051, at *4. DivX has a long history as a pioneer in technology
22    for providing high quality video over the internet. DivX’s innovations—including
23    those described in the asserted patents—span a wide range of technologies that permit
24    the viewing experience to which today’s users have become accustomed.                  For
25    example, DivX improved digital rights management, which controls access to and
26    prevents piracy of protected digital media—a sine qua non of non-pirated streaming
27    video.     DivX developed technology for adaptive bitrate streaming that detects
28    streaming conditions and adjusts the quality of the stream accordingly to prevent
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 1    disruption in video playback. DivX developed “trick play” technology that provides
 2    effects such as a “fast forward” for a familiar and friendly user experience. DivX
 3    technology also enabled high quality video playback, including ultra high definition
 4    (4K) video. See, e.g., Hulu I, Dkt. 59 (Amended Complaint), ¶¶ 10, 72, 73, 116. DivX
 5    built the technological foundations that Hulu now uses without a license and to DivX’s
 6    detriment. Indeed, DivX released its own products long before Hulu. Hulu’s decision
 7    to design its platform using DivX technology without permission requires remedy from
 8    this Court, and the relationship between the parties weighs against a continued stay.
 9          DivX’s products and history of innovation have a long track record. Over 20
10    years ago, on September 6, 2001, DivX released a video-on-demand service: the Open
11    Video System (“OVS”). Ex. 7 at 1-7. DivX’s product launch was many years before
12    streaming took off in earnest, and six years before the launch of Hulu as a business in
13    October 2007. See Ex. 7 at 8-11. OVS allowed content providers to sell a “high
14    quality download” of their media. Ex. 7 at 2. The first film on the OVS could be
15    rented for five days by users with “high-speed Internet connections” for $4.95. Id.
16    The OVS platform offered a “complete delivery management infrastructure” for
17    “profitable delivery of high quality video-on-demand,” and it had a “proprietary digital
18    rights management solution to ensure security.” Id. at 4. This OVS platform was
19    based on the DivX codec that allowed for the playing of DivX content. Id. at 4, 12-17.
20          DivX continued to develop and expand its technology. There are now over 1.5
21    billion devices that are certified to play DivX content. Ex. 8 10, 15. For more than
22    fifteen years, the leading consumer electronics brands have recognized the need to
23    include DivX’s technology in their products, ranging from televisions to mobile
24    phones, from DVD and BluRay players to in-car systems. Ex. 9 at 1-6, 7-12, 13-20,
25    21-27, 28-34, 35-40 (announcing DivX Certified LG DVD Devices on June 2, 2005;
26    DivX Certified in-car navigation and multimedia device on January 5, 2006; DivX
27    Certified television on August 31, 2007; the first DivX Certified handset for the U.S.
28    market on November 25, 2008; DivX Certified Blu-ray Disc Player on March 3, 2008;
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 1    DivX Certification of over 200 in-car and in-dash media device models on March 20,
 2    2008). DivX licensed partners included industry leaders Samsung and LG as early as
 3    2007, and both have recently entered patent licenses with DivX. Exs. 9 at 13-20, 41-
 4    47, Ex. 10 at 1-9. Though Samsung recently renewed its DivX license, Hulu is a
 5    holdout. Ex. 10 at 10-14. DivX also offered new platforms for providing video over
 6    the internet. For example, in 2011, DivX Plus Streaming was introduced as a “secure
 7    adaptive streaming solution” that included “trick-play features such as smooth fast
 8    forward and rewind” and the “trusted digital rights management technology” used for
 9    other DivX movies.       Ex. 11 at 5.      Hubee, “a major supplier of multi-screen
10    entertainment solutions,” selected DivX Plus Streaming in 2013 to use the “advanced
11    adaptive streaming format to power digital entertainment delivery for new customer
12    entertainment storefronts that are expected to launch in Europe,” and had by that time
13    already collaborated with Rovi (then owner of DivX) to provide Disney content for
14    purchase and steaming. Ex. 11 at 11. Disney is also an owner of Hulu (Hulu I, Dkt.
15    46). Companies, such as leading video streaming platform provider Roku, continue to
16    recognize DivX’s contributions and license DivX’s technology. Ex. 11 at 13-15.
17          Rather than seek the right to use the technology it needed from the company that
18    actually owned it, Hulu built its platform for internet video using technology that
19    belongs to DivX.     The PTAB’s decisions support the validity and importance of
20    DivX’s technology. DivX’s only recourse for the ongoing harm to its reputation and
21    business is in this Court. The relationship between the parties favors lifting the stay.
22                 5.     DivX Is Prejudiced If Its Claims Are Not Timely Resolved
23          The long pendency of the stay only increases the prejudice to DivX and
24    accentuates the need to have these claims adjudicated timely. Courts have recognized
25    that continuing a stay—including during an appeal of an IPR—would “‘unduly
26    prejudice [the plaintiff] and unfairly advantage [the defendant].’” Milwaukee Elec.
27    Tool, 2016 WL 7495808, at *3 (alterations in original, quoting ZOLL Med. Corp. v.
28    Respironics, Inc., Case No. 12-1778-LPS, 2015 WL 4126741, at *1 (D. Del. July 8,
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 1    2015)). One court found that “[i]n light of its obligation to ensure the expeditious
 2    resolution of this case, see Fed. R. Civ. P. 1, the Court finds that the stay in the Related
 3    Cases has outlived its usefulness.” Id. A court in this district similarly found its
 4    “obligation to manage its docket to ensure that cases are resolved in a timely manner”
 5    and the passage of time—in that case the years since the case was filed—without the
 6    court being “able to weigh in on the merits of its claims” also weighed in favor of
 7    lifting a stay. Ex. 3, Lund, slip op. 6. In this case, multiple consumer electronics
 8    companies have recognized the value of DivX’s technology and taken licenses,
 9    including while this case was pending, but Hulu has refused, and other smaller,
10    streaming video companies are following suit. As DivX’s CEO Brian Way recently
11    stated following Samsung’s and LG’s decisions to license DivX patents, “When other
12    companies use our technology without authorization, including some of the largest
13    companies in the world, our ability to protect our investment for both DivX and
14    DivX’s licensees ... is significantly impacted by their unauthorized use.”8 Ex. 10 at 3.
15    DivX has reached out to eight other companies offering streaming media services, and,
16    despite diligent efforts, has not been able to enter license agreements with them. This
17    prejudice to DivX if it is unable to timely litigate its claims weighs in favor of lifting
18    the stay for the entire case, but at minimum for the Hulu I patents.
19          D.     The Totality Of The Circumstances Favors Lifting The Stay
20          DivX’s claims against Hulu have been pending for over two and a half years,
21    and much of that time they have been stayed. Hulu I, Dkt. 122; Hulu I, Dkt. 1. The
22    Court has now ruled on motions and all patents with instituted IPRs have survived and
23    need to be litigated here. Continuing the stay will not simplify the case; and Hulu’s
24    prior arguments confirm that efficiency now weighs in favor of allowing the case to
25
      8
        Samsung and LG entered a license “a week before the evidentiary hearing” in the
26    ITC, and after LG and Samsung “lost the bulk of claim construction” and “lost a bid
27    for summary determination of noninfringement.” Ex. 10 at 3. This only confirms that
      the best way to resolve this dispute is to allow the case to progress in this Court.
28

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 1    proceed in full. Hulu’s own delay, the now concluded Hulu I IPRs, the early pre-
 2    institution stage of the Hulu II IPR petitions on only two patents, and the ongoing harm
 3    to DivX all weigh in favor of lifting the stay.
 4          Even if the Court declines to lift the stay on the Hulu II patents, at least the Hulu
 5    I patents should be allowed to proceed. Any simplification of Hulu I has already been
 6    achieved by the stay. Hulu II IPRs cannot change the scope of the Hulu I proceeding.
 7    The Courts should be open to all litigants to have their disputes heard on the merits,
 8    and all litigants should be given a “just, speedy, and inexpensive determination of
 9    every action and proceeding” pursuant to Federal Rule of Civil Procedure 1. Hulu’s
10    infringement of additional DivX patents should not be a basis to preclude adjudication
11    of any of DivX’s rights. It would be unfair to penalize DivX for seeking the Court’s
12    assistance in a new matter by denying that very assistance to DivX on its earlier-filed
13    claims. If there is “even a fair possibility that the stay . . . will work damage to
14    someone else,” the party requesting the stay “must make out a clear case of hardship or
15    inequity in being required to go forward.” Ex. 2, Game and Tech., slip op. 3. There is
16    no harm or inequity to Hulu if the stay is lifted and this case proceeds after this already
17    lengthy stay. As a court in this district observed, “[i]f litigation were stayed every time
18    a claim in suit undergoes reexamination, federal infringement actions would be dogged
19    by fits and starts.” Ex. 2, Game and Tech., slip op. 3. But in this case, DivX would
20    not even be allowed to start. The totality of the circumstances weighs in favor of
21    lifting the stay for the entire consolidated case. At minimum, however, the totality of
22    the circumstances strongly favors allowing the Hulu I patents to proceed.
23    V.    CONCLUSION
24          The Hulu I IPRs are over. Not a single patent has been eliminated. There is no
25    simplification to be gained from continuing the stay, but the prejudice from a stay to
26    DivX is material. This case is ready to proceed now on the merits in this Court. For
27    these reasons, DivX respectfully requests that the Court lift the stay in Hulu I and Hulu
28    II. In the alternative, DivX respectfully requests that the Court lift the stay in Hulu I.
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